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             EXHIBIT D
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 MARIO PILLCO-MOROCHO,
 ABDOULAYE FALL, DARLIN
 GUILLERMO, JUAN CARLOS ILLICACHI
 SHIGLA, DIEGO GALINDO, SEGUNDO
 ARMIJOS, DIEGO ARMANDO GULLÁN
 TIXI, MIGUEL LUCAS IXCUNA YAX,
 LLOYD WAFULA, CONROY DESMOND
 LEWIS, CARLOS MENJIVAR ROJAS,
 NUELSON GOMES, FLAVIO ANDRADE
 PRADO JUNIOR, JANITO DE
 CARVALHO, JOAO FERNANDES, AIRES
 DA GRACA AND MARCO BATTISTOTTI,

                   Plaintiffs,                     Civil No.: 1:22-cv-10652-WGY

 v.

 BRISTOL COUNTY SHERIFF’S OFFICE;
 SHERIFF THOMAS HODGSON, IN HIS
 INDIVIDUAL CAPACITY;
 SUPERINTENDENT STEVEN SOUZA, IN
 HIS INDIVIDUAL CAPACITY; AND
 OFFICERS DOE #1-26, IN THEIR
 INDIVIDUAL CAPACITIES,

                   Defendants.



              PLAINTIFFS’ SECOND SET OF REQUESTS FOR
PRODUCTION OF DOCUMENTS TO DEFENDANTS BRISTOL COUNTY SHERIFF’S
OFFICE, SHERIFF THOMAS HODGSON, AND SUPERINTENDENT STEVEN SOUZA

       Pursuant to Federal Rule of Civil Procedure, Plaintiffs hereby request that Defendants

respond to this Request for Production of Documents within 30 days and by producing materials

electronically or in hard copy at the law offices of Todd & Weld, LLP, 1 Federal St, 27th Floor,

Boston, Massachusetts, 02110.




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                                         INTRUCTIONS

       1.      You are requested to state separately for each of the following numbered requests

for production which documents will be produced for inspection and copying.

       2.      To the extent that any documents falling within the requests below have been

destroyed, lost or misplaced, please identify those documents by type, author, date, number of

pages, and the date and manner in which the document was destroyed, lost or misplaced.

       3.      Plaintiffs specifically request that you supplement your responses to these Requests

as required under Federal Rule of Civil Procedure 34.

       4.      Responsive documents shall be produced as they are kept in the usual course of

business or organized and labeled to correspond with numbered Requests. Responsive documents

and materials should be produced as follows:

            (a) All standard, non-color documents shall be scanned to single page Group IV, TIFF
                format, at least 300 dpi and 8½” x 11” page size, except for documents requiring
                higher resolution or different page size. Image and Concordance format database
                load files will capture the physical document boundaries and smallest binding
                element as the attachment range.

            (b) In scanning paper documents, distinct documents should not be merged into a
                single record, and single documents should not be split into multiple records (i.e.,
                paper documents should be logically unitized).

            (c) Color photographs and documents will be imaged in color and Bates numbered in
                sequence with contiguous documents.

            (d) Each page of a production will be electronically Bates numbered using a number
                that corresponds to the TIFF image file name, and the Bates number will be
                endorsed on the image.

            (e) Document images will be processed through an Optical Character Recognition
                process (OCR). An ASCII delimited database load file will be produced with the
                corresponding image files. The database load file shall contain the fields identified
                in Appendix A including beginning and ending bates numbers, number of pages,
                parent/child attachment ranges of each document, custodian and a source field
                indicating the identity of any associated box number. OCR text will be provided
                in separate .TXT files organized at the document level and named with the
                corresponding image file name. The path to the OCR text file will be included in


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               the load file. The delimited database file will be provided. The database load file
               will contain header field identifiers that identify the field content and order of the
               delimited data file.

            (f) All ESI will be produced as TIFF images with DISCO format load files, with all
                comments, tracked changes, edits, notes, hidden content, and similar content intact.
                In addition to the above, all excel files shall be produced with un-hidden rows, and
                all presentation files shall be produced with hidden slides, speakers’ notes, and
                similar data. File names and other metadata shall be preserved in database load
                files. Each page of ESI will be named using a unique item identifier. Container
                Files (e.g., zipped files, emails with attachments, etc.) will be opened so that each
                individual file in the container is produced as its own document. Attachments or
                embedded files will also be extracted and produced outside of the container file.
                Load files for ESI will be provided. Load files must preserve the original document
                unitization.

            (g) All metadata for ESI will be produced in an ASCII delimited database load file and
                will include the metadata identified in Appendices B (for non-email ESI) and C
                (for email ESI). Attachment associations to email and other documents (e.g.,
                embedded files) will be preserved as attachment number range fields. Attachments
                should be numbered consecutively following the parent file. If the native email
                application cannot provide attachments as contemplated in this paragraph, email
                attachments shall be provided in a reasonably usable format.

            (h) Responsive spreadsheets or other proprietary files will be provided in their native
                format. Notwithstanding the above production protocol, Plaintiff remains entitled
                to request that any other document produced as a TIFF be re-produced as a native
                file.

       5.      The document requests below are intended to seek non-privileged documents only.

If any objection rests in whole or in part on a claim of privilege, the privilege claimed shall be

stated with particularity. With respect to any document responsive to any Request that is withheld

from production on the grounds that the document or any of its contents is privileged or otherwise

not subject to production, you are requested to provide a privilege log in strict compliance with

the requirements of Federal Rule of Civil Procedure 26. Such privilege log should include, for

each document withheld,

               (a)     the author, originator, or addresser;

               (b)     the addressee(s);



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               (c)        all recipients of copies;

               (d)        the date the document was prepared and/or transmitted;

               (e)        the nature of the document (i.e. letter, note, report, memoranda, etc.);

               (f)        the present custodian and location of the document; and

               (g)        a statement of the factual and legal reason(s) why the document is being
                          withheld from production.

       6.      No document shall be withheld from discovery based on any claim or belief by the

Defendants that such document already is in the possession of the Plaintiffs.

       7.      Once your document production is completed, general objections to requests for

production of documents and things are prohibited. As to each request, your written response

must state either: (i) notwithstanding prior general objections, all responsive documents or things

in the possession, custody, or control of the responding party have been produced; (ii) after diligent

search no responsive documents or things are in the possession, custody, or control of the

responding party; or (iii) the specific objection made to the request.

       8.      When a specific objection is made, the response shall describe the nature of all

responsive documents or things in the possession, custody, or control of the responding party that

have not been produced because of the objection.

       9.      If no documents exist that are responsive to a request, please state that no

documents exist.

       10.     A request for a document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document, in addition

to the document itself.

       11.     These requests are continuing in nature and require supplemental response and

production.



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                                          DEFINITIONS

       As used herein, the words and phrases set out below shall have the following meanings:

       1.       “Communication” means any correspondence, contact, discussion, or any other

kind of written or oral exchange or transmittal of information (in the form of facts, ideas, inquiries,

or otherwise) and any response thereto between two or more persons or entities, including, without

limitation, all telephone conversations, face-to-face meetings or conversations, internal or external

discussions, or exchanges of a document or documents, whether directly or through “cc” copying.

       2.       “Document” shall have the meaning set forth in Rule 34(a) of the Federal Rules of

Civil Procedure and shall therefore include, without limitation, any writing, recording, photograph,

computer data base, email, or other item containing information of any kind or nature, however

produced or reproduced, whether an original or a duplicate, whatever its origin or location, and

regardless of the form in which such information exists or is maintained.

       3.       “Person” means any natural person or any legal or business entity.

       4.       A “representative” of a person means any officer, director, agent, employee,

attorney, or other representative of such person.

       5.       An “affiliate” of any entity means any person who, directly or indirectly, controls

or is controlled by or is under common control with such entity. The term “control” and its

correlatives, as used above, means the possession, whether direct or indirect, or the power to direct

or to cause the direction of the management and policies of a person, whether through ownership

of an entity interest, by corporate position, by contract, or otherwise.

       6.       “Concerning” means relating to, referring to, describing, evidencing, or

constituting.




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        7.       “Plaintiffs” means the above-captioned Plaintiffs, and any agent, employee,

attorney, or other representative of the Plaintiffs.

        8.      “You,” “Yourself,” “Your,” or “Defendants” means the Bristol County Sheriff’s

Office, Sheriff Thomas Hodgson, and/or Superintendent Steven Souza, and/or any of their

representatives or affiliates, as defined above.

        9.      “Complaint” means the Amended Complaint filed on February 5, 2024 by the

Plaintiffs in this action.

        10.     “BCHOC” means “Bristol County House of Corrections.”

                                REQUESTS FOR PRODUCTION

Request for Production No. 13

        All documents, photos, and video footage supporting your assertion that Plaintiffs engaged

in property damage to the ICE B Unit housing area in BCHOC on May 1, 2020.

Request for Production No. 14

        All email correspondence from all the custodians listed in Defendants’ Initial Disclosures

relating to the events detailed in the Complaint (the surrounding conditions and culminating

incident on May 1, 2020 at BCHOC) not already produced.

Request for Production No. 15

        All organizational charts of leadership and staffing at Bristol County House of Corrections

from 2019 to 2022, if not already produced.

Request for Production No. 16

        Photographs sufficient to identify all individuals, with their names, who were listed in the

Defendants’ Responses to the Plaintiffs’ First Set of Interrogatories.




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Request for Production No. 17

       All records related to all emergency medical technicians (EMTs), ambulance companies,

or other medical care providers (excluding those employed by BCSO or BCHOC) who responded

to the jail and/or provided medical care to any of the Plaintiffs on May 1, 2020 or for related

medical care needs thereafter.

                                           Respectfully submitted for the Plaintiffs,

                                           By their attorneys,

                                           /s/ Miriam R. Nemeth_ ___________
                                           Miriam R. Nemeth, admitted pro hac vice
                                           RIGHTS BEHIND BARS
                                           416 Florida Avenue, NW #26152
                                           Washington, D.C. 20001
                                           Tel: (202) 455-4399
                                           miriam@rightsbehindbars.org

                                           Benjamin J. Wish (BBO #672743)
                                           Susmita A. Gadre (BBO #705376)
                                           Madison F. Bader (BBO # 705109)
                                           TODD & WELD LLP
                                           One Federal Street, 27th Floor
                                           Boston, MA 02110
                                           Tel: (617) 720-2626
                                           Fax: (617) 227-5777
                                           bwish@toddweld.com
                                           sgadre@toddweld.com
                                           mbader@toddweld.com

                                           Attorneys for the Plaintiffs

Dated: August 29, 2024




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                                   Appendix A

                        Image Fields to be Produced
                       for Hard Copy Reprographics

BEGBATES                   Bates number on first page of each document
ENDBATES                   Bates number on final page of each document
BEGATTACH                  Bates number on first page of document attachment range
ENDATTACH                  Bates number on last page of document attachment range
CUSTODIAN                  Name of custodian in possession of the paper file, if no
                           custodian, then department
BOXNUMBER                  Box data sufficient to efficiently locate the original paper
                           document
FULLTEXTPATH               Path to text file on delivery media




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                                 Appendix B

                           Non E-Mail ESI Metadata
                             Fields to be Produced

Fields for ESI docs             Description
BEGBATES                        Beginning bates number of document
ENDBATES                        Ending bates number of document


BEGATTACH                       Beginning bates number of attachment document.
ENDATTACH                       Ending bates number of last attachment
ATTACHMENT COUNT                Number of Total Attachments per Document
AUTHOR                          Name of person creating document (if available)
DATECREATED                     Date document was created (mm/dd/yyyy)
DATEMODIFIED                    Date document was last saved (mm/dd/yyyy)
TIMECREATED                     Time document was created
TIMEMODIFIED                    Time document was last saved
CUSTODIAN                       Name of person or source location from whom
                                the file was obtained
DOCLINK                         Full relative path to the current location of the
                                native or near-native document used to link to
                                native produced file
FILEEXT                         Extension of native document
FILENAME                        Name of the original native file as it existed at the
                                time of collection
FOLDERPATH                      Location within folder structure, including any
                                container files, for the original native file as it
                                existed at the time of collection
DEDUPLICATION                   Identifying value (MD5 or SHA-1) of an
                                electronic record, used for deduplication and
                                authentication
RCRDTYPE                        Indicates document type, i.e., email; attachment;
                                edoc; scanned; etc.
DUPCUSTODIAN                    Custodian names for duplicate files
REDACTION                       Whether the document contains any redactions
                                (“Y” or “N”)
FULLTEXTPATH                    The path of the full text files for each document
MD5HASH                         MD5 Hash Value




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                                          Appendix C

                                       E-Mail Metadata
                                     Fields to be Produced

All fields listed in Appendix “A” plus (may only apply to email attachments):
 Fields for ESI docs                     Description
 FROM                                    Name of person sending an email
 TO                                      Names of persons to whom an email is sent
 BCC                                     Names of persons blind copied on an email
 CC                                      Names of persons copied on an email
 SUBJECT                                 Subject line of an email
 DATERECEIVED                            Date email was received (mm/dd/yyyy)
 DATESENT                                Date email was sent
 TIMERECEIVED                            Time email was received in user’s mailbox
 TIMESENT                                Time email was sent
 MESSAGEID                               Message ID of an email
 STOREID                                 Name of the archive the emails or files were
                                         extracted from
 FOLDERPATH                              Email Relative Path (i.e. Inbox and subfolder
                                         location of original)




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                               CERTIFICATE OF SERVICE

      I, Miriam R. Nemeth, hereby certify that on August 29, 2024, I caused the foregoing
document to be served by email on all counsel of record as listed below:

       William P. Breen, Jr., BBO #558768
       Eckert Seamans Cherin & Mellott, LLC
       Two International Place, 16" Floor
       Boston, MA 02110
       (617) 342-6800
       wbreen@eckertseamans.com


                                                   /s/ Miriam R. Nemeth
                                                   Miriam R. Nemeth




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 MARIO PILLCO-MOROCHO,
 ABDOULAYE FALL, DARLIN
 GUILLERMO, JUAN CARLOS ILLICACHI
 SHIGLA, DIEGO GALINDO, SEGUNDO
 ARMIJOS, DIEGO ARMANDO GULLÁN
 TIXI, MIGUEL LUCAS IXCUNA YAX,
 LLOYD WAFULA, CONROY DESMOND
 LEWIS, CARLOS MENJIVAR ROJAS,
 NUELSON GOMES, FLAVIO ANDRADE
 PRADO JUNIOR, JANITO DE
 CARVALHO, JOAO FERNANDES, AIRES
 DA GRACA AND MARCO BATTISTOTTI,

                   Plaintiffs,                     Civil No.: 1:22-cv-10652-WGY

 v.

 BRISTOL COUNTY SHERIFF’S OFFICE;
 SHERIFF THOMAS HODGSON, IN HIS
 INDIVIDUAL CAPACITY;
 SUPERINTENDENT STEVEN SOUZA, IN
 HIS INDIVIDUAL CAPACITY; AND
 OFFICERS DOE #1-26, IN THEIR
 INDIVIDUAL CAPACITIES,

                   Defendants.



PLAINTIFFS’ THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
   DEFENDANTS BRISTOL COUNTY SHERIFF’S OFFICE, SHERIFF THOMAS
            HODGSON, AND SUPERINTENDENT STEVEN SOUZA

        Pursuant to Federal Rule of Civil Procedure, Plaintiffs hereby request that Defendants

respond to this Request for Production of Documents within 30 days and by producing materials

electronically or in hard copy at the law offices of Todd & Weld, LLP, 1 Federal St, 27th Floor,

Boston, Massachusetts, 02110.




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                                         INTRUCTIONS

       1.      You are requested to state separately for each of the following numbered requests

for production which documents will be produced for inspection and copying.

       2.      To the extent that any documents falling within the requests below have been

destroyed, lost or misplaced, please identify those documents by type, author, date, number of

pages, and the date and manner in which the document was destroyed, lost or misplaced.

       3.      Plaintiffs specifically request that you supplement your responses to these Requests

as required under Federal Rule of Civil Procedure 34.

       4.      Responsive documents shall be produced as they are kept in the usual course of

business or organized and labeled to correspond with numbered Requests. Responsive documents

and materials should be produced as follows:

            (a) All standard, non-color documents shall be scanned to single page Group IV, TIFF
                format, at least 300 dpi and 8½” x 11” page size, except for documents requiring
                higher resolution or different page size. Image and Concordance format database
                load files will capture the physical document boundaries and smallest binding
                element as the attachment range.

            (b) In scanning paper documents, distinct documents should not be merged into a
                single record, and single documents should not be split into multiple records (i.e.,
                paper documents should be logically unitized).

            (c) Color photographs and documents will be imaged in color and Bates numbered in
                sequence with contiguous documents.

            (d) Each page of a production will be electronically Bates numbered using a number
                that corresponds to the TIFF image file name, and the Bates number will be
                endorsed on the image.

            (e) Document images will be processed through an Optical Character Recognition
                process (OCR). An ASCII delimited database load file will be produced with the
                corresponding image files. The database load file shall contain the fields identified
                in Appendix A including beginning and ending bates numbers, number of pages,
                parent/child attachment ranges of each document, custodian and a source field
                indicating the identity of any associated box number. OCR text will be provided
                in separate .TXT files organized at the document level and named with the
                corresponding image file name. The path to the OCR text file will be included in


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               the load file. The delimited database file will be provided. The database load file
               will contain header field identifiers that identify the field content and order of the
               delimited data file.

            (f) All ESI will be produced as TIFF images with DISCO format load files, with all
                comments, tracked changes, edits, notes, hidden content, and similar content intact.
                In addition to the above, all excel files shall be produced with un-hidden rows, and
                all presentation files shall be produced with hidden slides, speakers’ notes, and
                similar data. File names and other metadata shall be preserved in database load
                files. Each page of ESI will be named using a unique item identifier. Container
                Files (e.g., zipped files, emails with attachments, etc.) will be opened so that each
                individual file in the container is produced as its own document. Attachments or
                embedded files will also be extracted and produced outside of the container file.
                Load files for ESI will be provided. Load files must preserve the original document
                unitization.

            (g) All metadata for ESI will be produced in an ASCII delimited database load file and
                will include the metadata identified in Appendices B (for non-email ESI) and C
                (for email ESI). Attachment associations to email and other documents (e.g.,
                embedded files) will be preserved as attachment number range fields. Attachments
                should be numbered consecutively following the parent file. If the native email
                application cannot provide attachments as contemplated in this paragraph, email
                attachments shall be provided in a reasonably usable format.

            (h) Responsive spreadsheets or other proprietary files will be provided in their native
                format. Notwithstanding the above production protocol, Plaintiff remains entitled
                to request that any other document produced as a TIFF be re-produced as a native
                file.

       5.      The document requests below are intended to seek non-privileged documents only.

If any objection rests in whole or in part on a claim of privilege, the privilege claimed shall be

stated with particularity. With respect to any document responsive to any Request that is withheld

from production on the grounds that the document or any of its contents is privileged or otherwise

not subject to production, you are requested to provide a privilege log in strict compliance with

the requirements of Federal Rule of Civil Procedure 26. Such privilege log should include, for

each document withheld,

               (a)     the author, originator, or addresser;

               (b)     the addressee(s);



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               (c)        all recipients of copies;

               (d)        the date the document was prepared and/or transmitted;

               (e)        the nature of the document (i.e. letter, note, report, memoranda, etc.);

               (f)        the present custodian and location of the document; and

               (g)        a statement of the factual and legal reason(s) why the document is being
                          withheld from production.

       6.      No document shall be withheld from discovery based on any claim or belief by the

Defendants that such document already is in the possession of the Plaintiffs.

       7.      Once your document production is completed, general objections to requests for

production of documents and things are prohibited. As to each request, your written response

must state either: (i) notwithstanding prior general objections, all responsive documents or things

in the possession, custody, or control of the responding party have been produced; (ii) after diligent

search no responsive documents or things are in the possession, custody, or control of the

responding party; or (iii) the specific objection made to the request.

       8.      When a specific objection is made, the response shall describe the nature of all

responsive documents or things in the possession, custody, or control of the responding party that

have not been produced because of the objection.

       9.      If no documents exist that are responsive to a request, please state that no

documents exist.

       10.     A request for a document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document, in addition

to the document itself.

       11.     These requests are continuing in nature and require supplemental response and

production.



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                                          DEFINITIONS

       As used herein, the words and phrases set out below shall have the following meanings:

       1.       “Communication” means any correspondence, contact, discussion, or any other

kind of written or oral exchange or transmittal of information (in the form of facts, ideas, inquiries,

or otherwise) and any response thereto between two or more persons or entities, including, without

limitation, all telephone conversations, face-to-face meetings or conversations, internal or external

discussions, or exchanges of a document or documents, whether directly or through “cc” copying.

       2.       “Document” shall have the meaning set forth in Rule 34(a) of the Federal Rules of

Civil Procedure and shall therefore include, without limitation, any writing, recording, photograph,

computer data base, email, or other item containing information of any kind or nature, however

produced or reproduced, whether an original or a duplicate, whatever its origin or location, and

regardless of the form in which such information exists or is maintained.

       3.       “Person” means any natural person or any legal or business entity.

       4.       A “representative” of a person means any officer, director, agent, employee,

attorney, or other representative of such person.

       5.       An “affiliate” of any entity means any person who, directly or indirectly, controls

or is controlled by or is under common control with such entity. The term “control” and its

correlatives, as used above, means the possession, whether direct or indirect, or the power to direct

or to cause the direction of the management and policies of a person, whether through ownership

of an entity interest, by corporate position, by contract, or otherwise.

       6.       “Concerning” means relating to, referring to, describing, evidencing, or

constituting.

       7.       “Plaintiffs” means the above-captioned Plaintiffs, and any agent, employee,




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attorney, or other representative of the Plaintiffs.

        8.      “You,” “Yourself,” “Your,” or “Defendants” means the Bristol County Sheriff’s

Office, Sheriff Thomas Hodgson, and/or Superintendent Steven Souza, and/or any of their

representatives or affiliates, as defined above.

        9.      “Complaint” means the Amended Complaint filed on February 5, 2024 by the

Plaintiffs in this action.

        10.     “BCHOC” means “Bristol County House of Corrections.”

        11.     “General population” means a housing placement that permits for interaction with

other detainees in a dorm, cell-block, or shared unit.

        12.     “Solitary confinement” includes “segregation,” “special housing units,” “special

management units,” “administrative segregation,” “medical segregation,” or any other housing

placement where a detainee is kept in a cell alone and afforded limited out-of-cell time.

        13.     “ICE” means Immigration and Customs Enforcement, a sub-agency of the

Department of Homeland Security.

                                REQUESTS FOR PRODUCTION

Request for Production No. 18

        All disciplinary records concerning any disciplinary processes imposed on Plaintiffs

following and related to the incidents of May 1, 2020, including reports, tickets, decisions and the

bases/rationale therefore, appeals, evidence relied upon, punishment meted out, video or audio

recordings of the hearings, and/or any other documents, photos, or video footage.

Request for Production No. 19

        Complete personnel and disciplinary files for all named defendants, members of the SRT,

members of the restraint team, members of the K-9 team, and all other BCSO staff present during




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the May 1, 2020 incident, including but not limited to all documents detailing trainings received

by each individual and all disciplinary materials (including allegations and conclusions, even if

unfounded) against the individual from January 1, 2017 through the closure of the ICE facility at

BCHOC.

Request for Production No. 20

       All records detailing complaints filed with or against the BCHOC involving the ICE

detention facility or practices from January 2017 through the closure of the ICE facility at BCHOC.

Request for Production No. 21

       All records demonstrating ICE’s removal of documents and materials concerning the ICE

detainees from BCHOC.

Request for Production No. 22

       All records of internal inspections, audits, or reviews of any facilities in which ICE

detainees were housed at BCHOC from January 1, 2017 through the end of the ICE contract.

Request for Production No. 23

       All records of alleged property damage (by detainees or BCSO staff) and repairs to that

property damage (including the costs of those repairs) arising from the May 1, 2020 incident.

Request for Production No. 24

       All records detailing housing decisions made by BCSO staff for all Plaintiffs during their

tenure at the BCHOC, including the decision to place some Plaintiffs in general population at any

point and the decision to place some Plaintiffs in solitary confinement following the May 1, 2020

incident or at any other point.

Request for Production No. 25

       Training records from January 1, 2017 through January 1, 2021 for all medical staff who




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responded to the May 1, 2020 incident or who evaluated Plaintiffs in the weeks thereafter,

including specifically training on responding to major incidents, the impacts of OC spray and other

less-lethal munitions or uses of force, and providing mental health care for conditions such as

PTSD.

Request for Production No. 26

        All product guides, user manuals, and/or all training materials on less lethal weapons,

including how to use those weapons, of which materials the weapons are constructed, risk factors

for using the weapons, and protocols for accessing and storing them, whether developed by Bristol

County, the manufacturer, or a vendor.

Request for Production No. 27

        All use of force packets, incident reports, armory logs, and other documents describing

major disturbances in BCHOC since 2000, including specifically an incident in the Ash Street

facility in 1989, an incident in the Ash Street facility in 1993, in the Dartmouth facility on April

15, 2001 and in the main facility in early 2023, as testified to by Superintendent Steven Souza

during his deposition on December 20, 2024.

Request for Production No. 28

        All written policies and training materials concerning the treatment of ICE detainees (as

opposed to people incarcerated at BCHOC because they were charged with or convicted of a

crime) at BCHOC.

Request for Production No. 29

        Video recordings of all communications among BCSO staff on or about the occurrences at

ICE building on May 1, 2020 including debriefs, including pre-event briefings and post-event

debriefings and/or interviews with BCSO staff.




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Request for Production No. 30

      All documents outlining the provision of federal financial assistance to the BCSO and

BCHOC, including all federal grants, loans, and subsidies, including but not limited those

documents related to BCSO’s 287(g) agreement with ICE.



                                         Respectfully submitted for the Plaintiffs,

                                         By their attorneys,

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Dated: January 13, 2025




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                                  Appendix A

                       Image Fields to be Produced
                      for Hard Copy Reprographics

BEGBATES                  Bates number on first page of each document
ENDBATES                  Bates number on final page of each document
BEGATTACH                 Bates number on first page of document attachment range
ENDATTACH                 Bates number on last page of document attachment range
CUSTODIAN                 Name of custodian in possession of the paper file, if no
                          custodian, then department
BOXNUMBER                 Box data sufficient to efficiently locate the original paper
                          document
FULLTEXTPATH              Path to text file on delivery media




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                                 Appendix B

                           Non E-Mail ESI Metadata
                             Fields to be Produced

Fields for ESI docs             Description
BEGBATES                        Beginning bates number of document
ENDBATES                        Ending bates number of document


BEGATTACH                       Beginning bates number of attachment document.
ENDATTACH                       Ending bates number of last attachment
ATTACHMENT COUNT                Number of Total Attachments per Document
AUTHOR                          Name of person creating document (if available)
DATECREATED                     Date document was created (mm/dd/yyyy)
DATEMODIFIED                    Date document was last saved (mm/dd/yyyy)
TIMECREATED                     Time document was created
TIMEMODIFIED                    Time document was last saved
CUSTODIAN                       Name of person or source location from whom
                                the file was obtained
DOCLINK                         Full relative path to the current location of the
                                native or near-native document used to link to
                                native produced file
FILEEXT                         Extension of native document
FILENAME                        Name of the original native file as it existed at the
                                time of collection
FOLDERPATH                      Location within folder structure, including any
                                container files, for the original native file as it
                                existed at the time of collection
DEDUPLICATION                   Identifying value (MD5 or SHA-1) of an
                                electronic record, used for deduplication and
                                authentication
RCRDTYPE                        Indicates document type, i.e., email; attachment;
                                edoc; scanned; etc.
DUPCUSTODIAN                    Custodian names for duplicate files
REDACTION                       Whether the document contains any redactions
                                (“Y” or “N”)
FULLTEXTPATH                    The path of the full text files for each document
MD5HASH                         MD5 Hash Value




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                                          Appendix C

                                       E-Mail Metadata
                                     Fields to be Produced

All fields listed in Appendix “A” plus (may only apply to email attachments):
 Fields for ESI docs                     Description
 FROM                                    Name of person sending an email
 TO                                      Names of persons to whom an email is sent
 BCC                                     Names of persons blind copied on an email
 CC                                      Names of persons copied on an email
 SUBJECT                                 Subject line of an email
 DATERECEIVED                            Date email was received (mm/dd/yyyy)
 DATESENT                                Date email was sent
 TIMERECEIVED                            Time email was received in user’s mailbox
 TIMESENT                                Time email was sent
 MESSAGEID                               Message ID of an email
 STOREID                                 Name of the archive the emails or files were
                                         extracted from
 FOLDERPATH                              Email Relative Path (i.e. Inbox and subfolder
                                         location of original)




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                               CERTIFICATE OF SERVICE

      I, Miriam R. Nemeth, hereby certify that on January 13, 2025, I caused the foregoing
document to be served by email on all counsel of record as listed below:

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                                                   /s/ Miriam R. Nemeth
                                                   Miriam R. Nemeth




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